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                      EXHIBIT 12

                    (CORRECTED)
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                                                                Mackey, Edward MD (Smith prescriber) 5/23/2007 8:40:00 AM
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       In re: NEURONTIN             MDL Docket No. 1629                     1
                                                                            2            It is further stipulated and
       MARKETING, SALES                Master File No.                      3   agreed that it shall not be necessary for any
                                                                            4   objections to be made by counsel to any
       PRACTICES and PRODUCTS                        04-10981
                                                                            5   questions, except as to form or leading
                                                                            6   questions, and that counsel for the parties may
       LIABILITY LITIGATION           Judge Patti B. Saris
                                                                            7   make objections and assign grounds at the time
                          Magistrate Judge                                  8   of the trial, or at the time said deposition is
                                                                            9   offered in evidence, or prior thereto.
                          Leo T. Sorokin                                   10
                                                                           11
       RUTH SMITH,
                                                                           12
                                                                           13
            Plaintiff,    C. A. No. 05-11515
                                                                           14

       V.                                                                  15
                                                                           16
       PFIZER, INC., et al.,                                               17
                                                                           18
            Defendants.                                                    19
                                                                           20
              Videotaped Deposition of:
                                                                           21
                                                                           22
              EDWARD MACKEY, M.D.
                                                                           23

              Wednesday, May 23, 2007                                      24
                                                                           25



                                                                       2                                                                  4

   1                                                                        1   APPEARANCES:
                                                                            2   For the Plaintiff:
   2               STIPULATIONS                                                    ANDREW G. FINKELSTEIN
                                                                            3      KEITH ALTMAN
   3               It is stipulated and agreed, by                                 Finkelstein & Partners
                                                                            4      436 Robinson Avenue
   4   and between the parties through their                                       Newburgh, New York 12550
   5   respective counsel, that the videotaped                              5     (800) 634-1212
                                                                                   afinkelstein@lawampm.com
   6   deposition of:                                                       6   -and-
                                                                                   W. MARK LANIER
   7               EDWARD MACKEY, M.D., may be                              7      ROBERT LEONE
                                                                                   DARA HEGAR
   8   taken before Fred W. Jeske, court reporter and                       8      PATRICK O'HARA
                                                                                   The Lanier Law Firm
   9   Tennessee Notary Public, at the offices of                           9      6810 FM 1960 West
                                                                                   Houston, Texas 77069
  10   Miller & Martin, 1200 US Bank Tower, 150 Fourth                     10      Post Office Box 691448
                                                                                   Houston, Texas 77269-1448
  11   Avenue, North, Nashville, Tennessee, on                             11      (713) 659-5200
  12   Wednesday, May 23, 2007, commencing at                                      wml@lanierlawfirm.com
                                                                           12
  13   approximately 8:40 a.m.                                                  For the Defendant Pfizer:
                                                                           13     KENNETH J. FERGUSON
  14               It is further stipulated and                                   CEDRIC E. EVANS
                                                                           14     Clark, Thomas & Winters
  15   agreed that the signature to and reading of the                            300 West 6th Street, 15th Floor
                                                                           15     Austin, Texas 78701
  16   deposition by the witness is waived, the                                   P.O. Box 1148
                                                                           16     Austin, Texas 78767
  17   deposition to have the same force and effect as                            (512) 472-8800
  18   if full compliance had been had with all laws                       17     cee@ctw.com
                                                                           18   For the witness:
  19   and rules of Court relating to the taking of                               NOEL F. STAHL
                                                                           19     Miller & Martin
  20   depositions.                                                               1200 one Nashville Place
                                                                           20     150 Fourth Avenue North
  21                                                                              Nashville, Tennessee 37219
                                                                           21     (615) 744-8503
  22                                                                              nstahl@millermartin.com
                                                                           22
  23                                                                            Also present:
                                                                           23
  24                                                                              Jonathan Wilkerson, law clerk
  25                                                                       24     Sheldon Singh, videographer
                                                                           25              -oOo-




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   1   Q.    (By Mr. Lanier) If you'll go back to                    1   A.      I do.
   2   this information, the Exhibit 5 that was filed                2   Q.      It says during this presentation
   3   with the government, on page 8, talks about                   3   Neurontin was promoted for use in the treatment
   4   other ways that Warner-Lambert, Pfizer was                    4   of pain. Do you see that as well?
   5   promoting through medical liaisons off-label                  5   A.      I do.
   6   uses. Do you see that?                                        6   Q.      Now, sir, during your medical career,
   7   A.    Yes.                                                    7   either through interactions with the doctors in
   8   Q.    It says Warner-Lambert employed medical                 8   your clinic or through going to any of these
   9   liaisons who were presented to doctors or                     9   presentations or through reading what other
  10   physicians as employees of the company's                     10   people are saying, had you been under the
  11   medical and scientific affairs department.                   11   impression that Neurontin was effective for
  12   Then they specifically cite one occasion where               12   pain relief in a person like Mr. Smith?
  13   one of the Warner-Lambert liaisons promoted                  13   A.      Yes.
  14   Neurontin for unapproved uses, subparagraph A                14   Q.      When you make determinations like this,
  15   shows it's in June of '96. Do you see that?                  15   I asked you this earlier but the question was
  16   A.    Yes.                                                   16   objected to, so I got to reask it in another
  17   Q.    And was a presentation made at Longwood                17   form.
  18   Gardens in Kenneth Square, Pennsylvania, to a                18              Do you go out there and do your
  19   group of doctors who were members of a local                 19   own independent medical research on drugs
  20   medical society. Do you see that?                            20   before you prescribe them?
  21   A.    Yes.                                                   21   A.      No.
  22   Q.    The sales representative and the                       22   Q.      Do you rely upon the drug companies to
  23   medical liaison selected the topic for the                   23   be honest and forthright with you?
  24   presentation to the local medical society.                   24              MR. FERGUSON: Object to form.
  25   After deciding in consultation with the sales                25   A.      Yes.



                                                               26                                                                   28

   1   rep that Neurontin would be the topic, the                    1   Q.      (By Mr. Lanier) Do you rely on the
   2   medical liaison prepared the presentation. Do                 2   drug companies to tell you both the, the good
   3   you see that?                                                 3   and the bad and the ugly about their drugs, be
   4                And then subpart C, among the                    4   honest about it?
   5   topics of the presentation was the use of                     5   A.      Yes.
   6   Neurontin for unapproved uses. Do you see                     6   Q.      Don't doctors like you, who are busy
   7   that, sir?                                                    7   treating people, have to rely upon drug
   8   A.    I do.                                                   8   companies to tell you the truth? I mean would
   9   Q.    During the presentation, in the                         9   you have time to go out and, and do major
  10   presence of the sales rep, the medical liaison               10   medical research on every drug you prescribe?
  11   promoted the use of Neurontin in the treatment               11   A.      No.
  12   of a number of unapproved uses. Do you see                   12              MR. FERGUSON: Object to form.
  13   that as well?                                                13              Excuse me, Doctor. Sorry.
  14   A.    I do.                                                  14   Q.      (By Mr. Lanier) When you prescribed
  15   Q.    Another example of this, sir, is given                 15   Neurontin to Mr. Smith, did you do it for
  16   on page 10. If you would flip there, please.                 16   pain --
  17   A.    Um-hum.                                                17   A.      Yes.
  18   Q.    Paragraph 27, it's talking about                       18   Q.      -- relief?
  19   another conference where the physicians in                   19   A.      Yes.
  20   attendance, among the presentations made to the              20   Q.      Now, how important is it to you --
  21   physicians in attendance was one relating to                 21   well, let me take a step back. I didn't ask
  22   unapproved uses entitled Reduction of Pain                   22   you this. Where did you learn it might work
  23   Symptoms During Treatment with Gabapentin. Do                23   for pain relief? Was it from the doctors in
  24   you understand gabapentin is the technical name              24   your clinic? Was it from -- do you know?
  25   for Neurontin?                                               25   A.      Ah, not exactly. I certainly spent




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   1   some time trying to find out where I first                    1   either operative or non-operative, that I rely
   2   heard about it, and then subsequently different               2   on them to some extent to guide me.
   3   sources going forward, and -- but I can't tell                3   Q.      Okay. I guess what I'm driving at is,
   4   you exactly who.                                              4   I don't show that the Pfizer people directly
   5   Q.      I would assume, we've got a chance to                 5   went to you and said, Here, use Neurontin for
   6   look at -- the Pfizer folks were putting a lot                6   pain. I see that they went to your partners
   7   of samples in your office of this drug?                       7   that are the pain specialists in the clinic,
   8   A.   Yes.                                                     8   and, and I'm trying to figure out if, if that
   9   Q.   And they were making calls not just on                   9   would have had an influence on your
  10   Dr. Clendenin but, oh, there is another doc,                 10   prescription writing when you're writing
  11   Dr. Nichols. Do you know a Dr. Nichols?                      11   something for pain before you do a surgery to
  12   A.   Dr. Nichols and Dr. Clendenin are both                  12   see if conservative treatment would work.
  13   pain, what we call physical medicine rehab.                  13               MR. FERGUSON: Object to form.
  14   They deal with a lot of chronic pain issues.                 14   Q.      (By Mr. Lanier) Would it have any
  15   Q.   Okay.                                                   15   bearing on you?
  16   A.   So -- and they're partners, and                         16   A.      I definitely interact with Clendenin
  17   partners within our group.                                   17   and Nichols on a regular basis.
  18   Q.   Okay. Now they're not shingles                          18   Q.      Great.
  19   doctors, though, are they?                                   19   A.      And the issues of pain management come
  20   A.   No, they are not.                                       20   up regularly, my asking them for input advice,
  21   Q.   They are not epileptic doctors, are                     21   not just on this but other issues than that.
  22   they?                                                        22   Q.      Fair enough.
  23   A.   No.                                                     23               Now, Doctor, had you ever -- all
  24   Q.   So when the Pfizer people were making                   24   right. Let me, let me back up and explain why
  25   sales calls on them for Neurontin and giving                 25   I'm asking these questions. And this is



                                                               30                                                                   32

   1   them Neurontin, by definition they're not doing               1   probably objectionable, so get ready -- get on
   2   it for the label reasons, they're not doing it                2   the edge of your seat.
   3   for shingles or, or epilepsy, are they?                       3               MR. FERGUSON: Thanks for the
   4              MR. FERGUSON: Object to form.                      4        tip.
   5   A.   Certainly neither Clendenin nor Nichols                  5               MR. LANIER: All right. I'm
   6   treat seizures.                                               6        just warning you.
   7   Q.   Okay.                                                    7               MR. STAHL: Do you want someone
   8   A.   They may have had an occasion to treat                   8        to rule on it too?
   9   postherpetic neuralgia.                                       9               MR. LANIER: No. I'm telling
  10   Q.   Okay.                                                   10        you, we can, we can do the whole thing.
  11   A.   But clearly not the dominant reason                     11        No, this is, this is just what I call
  12   they prescribed it.                                          12        sign-posting. I'm just telling you where
  13   Q.   (By Mr. Lanier) Right. And I assume                     13        I'm going. I can't play this to the jury,
  14   you would interact with these folks enough to                14        so they're going to object and make sure I
  15   know if, if they're being told that Neurontin's              15        don't play it to the jury, and I'll
  16   effective for pain and the samples are being                 16        stipulate right now this is probably
  17   given, would that be one of the places where                 17        something I can't play to the jury.
  18   you would have gotten some of your knowledge                 18               Here it is:
  19   about possibly using it?                                     19   Q.      (By Mr. Lanier) One of the pleadings
  20              MR. FERGUSON: Object to form.                     20   that Pfizer has filed in this case indicates
  21   A.   Yeah, the rule -- the sort of the setup                 21   that Pfizer's saying that this isn't their
  22   in our office, the PM&R guys handle                          22   fault, that you are what's called a learned
  23   non-operative back and pain. I'm a spine                     23   intermediary, and by that they mean you knew
  24   surgeon, and I do a lot of the operative, but                24   everything there was to know about this drug
  25   clearly I have patients who have pain issues,                25   and you decided to prescribe it, so don't blame




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   1   them, blame you.                                              1   resulted in some suicidal attempts.
   2                 Obviously we don't blame you.                   2                Did you know about that concern
   3   We don't see that you have done anything wrong                3   on this drug before you prescribed it?
   4   at all.                                                       4   A.     No.
   5                 But because they say that you're                5              MR. FERGUSON: Object to form.
   6   the learned intermediary, I got to ask you some               6        And could you identify what document you
   7   questions about did you know all this kind of                 7        were reading from, please?
   8   stuff and see if you knew what they think you                 8              MR. LANIER: Yeah. This is a
   9   knew.                                                         9        1993 document that was -- we had to get
  10                 Do you want to object to that?                 10        through the Freedom of Information Act
  11                 MR. FERGUSON: Yeah, can I go                   11        because it was not widely available.
  12        ahead and object?                                       12              I'll mark it as Exhibit 6.
  13                 And also say it's not true what                13   (Exhibit 6 marked.)
  14   he said.                                                     14   Q.      (By Mr. Lanier) This is an FDA
  15                 MR. LANIER: Oh, so you're                      15   document.
  16        waiving -- you will not assert a learned                16              I'm assuming you have never seen
  17        intermediary defense? Then I can skip                   17   this document before.
  18        these.                                                  18   A.     No.
  19                 MR. FERGUSON: There is no -- no                19   Q.      All right. On page 117 it talks about
  20        one's blaming you, Doctor.                              20   problems with suicide. It talks about -- let
  21                 MR. LANIER: Are you asserting a                21   me show you the --
  22        learned intermediary defense?                           22   A.     I'm looking at it.
  23                 MR. FERGUSON: We're asserting                  23              MR. FERGUSON: It's the third
  24        the defenses we've asserted.                            24        paragraph?
  25   A.     Press on.                                             25              MR. LANIER: Yes, third



                                                               34                                                                    36

   1   Q.        (By Mr. Lanier) Doctor, did anyone                  1        paragraph has got the suicide, and then the
   2   ever tell you or did you know that taking                     2        bottom paragraph has got the reference to
   3   Neurontin reduces the serotonin in the brain?                 3        clinically important depression.
   4                 MR. FERGUSON: Object to form.                   4   Q.      No one ever told you about that, did
   5   A.     No.                                                    5   they?
   6   Q.        (By Mr. Lanier) Would you have liked                6                MR. FERGUSON: Object to form.
   7   to have known such a fact --                                  7   A.     No.
   8                 MR. FERGUSON: Object to form.                   8   Q.      (By Mr. Lanier) Am I correct, no one
   9   Q.        (By Mr. Lanier) -- before you started               9   ever told you about that?
  10   prescribing it for pain?                                     10   A.     No.
  11                 MR. FERGUSON: Object to form.                  11   Q.      No, as in no, they did not tell you?
  12   A.     I don't know how it would have impacted               12   A.     No, they did not tell me.
  13   me one way or the other.                                     13   Q.      All right. Is that the kind of thing
  14   Q.        (By Mr. Lanier) All right. Would                   14   that would be important to know before you
  15   you -- did -- did you know before you                        15   start prescribing a drug?
  16   prescribed it that the FDA, before they                      16              MR. FERGUSON: Object to form.
  17   approved the drug for the very limited purposes              17   A.     Yes.
  18   they approved it for, that the FDA specifically              18   Q.      (By Mr. Lanier) All right. Because if
  19   said to ultimately Pfizer that a serious event               19   you're going -- if you have got a drug that,
  20   might limit the drug's widespread usefulness,                20   that may cause suicide, clinically significant
  21   several of them actually, the third being                    21   depression, you probably had other optional
  22   depression, specifically. While it may not be                22   drugs you could have given Mr. Smith that, that
  23   an infrequent occurrence in the epileptic                    23   don't seem to have that side effect; true?
  24   population, depression may become worse and                  24              MR. FERGUSON: Object to form.
  25   require intervention or lead to suicide as it's              25   A.     Potentially, yes.




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   1   Q.      (By Mr. Lanier) And, and at least if                  1   turn to page 4, you will see paragraph 15. I
   2   you're going to prescribe a drug that might                   2   was trained and instructed to tell physicians
   3   have those side effects, if you know about them               3   that Parke-Davis had statistically significant
   4   ahead of time, you would be able to warn the                  4   data that indicated Neurontin was highly
   5   patient, --                                                   5   effective in the treatment of a variety of
   6   A.      Yes.                                                  6   syndromes. Then he includes a bunch, ALS,
   7   Q.      -- wouldn't you?                                      7   bipolar disorder, painful diabetic neuropathy,
   8   A.      Yes.                                                  8   peripheral neuropathy.
   9   Q.      Now, did anybody at either Pfizer or                  9               Neuropathy, is that nerve pain?
  10   Warner-Lambert or any of your partners or                    10   A.      Yes.
  11   anybody out there tell you about some of the                 11   Q.      Is -- that may be one of the problems
  12   testing that was done on this drug by the                    12   that was possibly, a possible diagnosis for
  13   company where the testing itself showed pretty               13   Mr. Smith?
  14   clearly that this drug leads to suicide?                     14   A.      Yes.
  15                MR. FERGUSON: Object to form.                   15   Q.      And then there are some others listed
  16   Q.      (By Mr. Lanier) Do you know about any                16   there. He actually says, I made those
  17   of those tests?                                              17   representations, and he lists doctors that he
  18                MR. FERGUSON: Same objection.                   18   made them to. And says, I witnessed as part of
  19   A.      I'm not aware of any of those tests.                 19   my on-the-job training some others represent
  20   Q.      (By Mr. Lanier) Did you know anything                20   that it was safe and effective for those
  21   about -- have you ever heard of a doctor whose               21   unapproved indications.
  22   name is Dr. David Franklin?                                  22              Then look at paragraph 16.
  23   A.      No.                                                  23   Parke-Davis had no significant data from
  24   Q.      Dr. Franklin -- I'm going to give you                24   clinical trials to support those
  25   an exhibit we'll mark as Exhibit 7. And it's                 25   representations. Do you see that?



                                                               38                                                                  40

   1   an affidavit of Dr. Franklin.                                 1   A.      Yes.
   2                 MR. LANIER: Noel, here's a copy                 2   Q.      Paragraph 17. I was trained and
   3        for you. I don't mean to exclude you from                3   instructed to misrepresent the amount of
   4        this.                                                    4   clinical evidence available to support the use
   5                 MR. STAHL: That's fine.                         5   of Neurontin. You see that?
   6                 MR. LANIER: I apologize.                        6   A.      I do.
   7                 MR. FERGUSON: He'll read it                     7   Q.      Little bit further down in that
   8        tonight.                                                 8   paragraph, I was instructed to lead doctors to
   9                 MR. LANIER: He'll spend a lot                   9   believe that Dr. Bruce Ehrenberg's 160 patients
  10        of time pouring over this affidavit.                    10   were enrolled in a well controlled clinical
  11   (Exhibit 7 marked.)                                          11   trial and were achieving a 90 percent response
  12   Q.      This is an affidavit for a fella. You                12   rate. This was untrue. Do you see that as
  13   can get an idea of who he is just by looking at              13   well?
  14   the beginning.                                               14              MR. FERGUSON: Object to form.
  15                 He is a Ph.D., did a two-year                  15   A.      Yes, I see it.
  16   research fellowship with Harvard Med School and              16   Q.      (By Mr. Lanier) On page 7, paragraph
  17   Dana-Farber. And if you will look on page 2,                 17   21, it's got a transcript from a phone message
  18   he was hired, in paragraph 6, by Warner-                     18   left by a Phil Magistro the ultimately Pfizer
  19   Lambert's Parke-Davis division to work as a                  19   medical director of affairs for the northeast
  20   medical liaison. And he didn't do it long. He                20   business unit. Do you see the single-spaced
  21   did it for just a little over four months, when              21   statement, the transcript?
  22   he quit, effective immediately. Didn't even                  22              MR. FERGUSON: Object to form.
  23   give two weeks' notice. Do you see that?                     23   Q.      (By Mr. Lanier) There in paragraph 21,
  24   A.      Yes.                                                 24   the single space, do you see that?
  25   Q.      All right. This gentleman -- if you'll               25   A.      Yes.




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   1   Q.       It says, Medical liaisons, this is                   1   Q.      (By Mr. Lanier) Probably. And by
   2   Phil. I'm calling in regard to the, you know,                 2   probably, would it have meant you would have
   3   there's a Neurontin push that's supposed to be                3   either tried another drug first, or would you
   4   on. What we'd like you to do is, any time                     4   have at least put out some warnings and some
   5   you're called out, just make sure you're --                   5   safeties and precautions and told them what to
   6   that your main focus out of what you're doing                 6   be observant about?
   7   is on Neurontin. I'm not saying don't do                      7                 MR. FERGUSON: Object to form.
   8   Accupril calls, but the idea is you're supposed               8   A.      Certainly I would have done the
   9   to be pushing on Neurontin. I think some                      9   latter.
  10   people have lost that message, and I think a                 10   Q.      Okay.
  11   lot may be somewhat ineffectual in that regard.              11   A.      And I don't know about the former.
  12   So what we need to do is focus on Neurontin.                 12   Q.      (By Mr. Lanier) All right. Now if
  13   When we get out there, we want to kick some A                13   someone's at risk of -- I don't know that you
  14   on Neurontin. We want to sell Neurontin on                   14   see often someone that you consider a suicide
  15   pain, all right? And mono therapy, and                       15   risk in your practice, but if you see someone
  16   everything that we can talk about, that's what               16   that presents that you think is a serious
  17   we want to do, because I'm embarrassed. I                    17   candidate for suicide, I would assume you would
  18   don't know if you guys are embarrassed, but I'm              18   do something about that. There is some
  19   embarrassed about where we are with Neurontin.               19   protocol.
  20   We got to take it into our own hands and really              20   A.      Yes.
  21   kick some A on it. All right? Let's do it up.                21   Q.      Okay. Mr. Smith, when he presented to
  22   Talk to you soon. Bye. See that?                             22   you, I've read through your chart, there's
  23   A.       Yes.                                                23   nothing about him that made you think he was a
  24   Q.       Paragraph 22, I was trained and                     24   suicide risk when he presented, was there?
  25   instructed to use a number of misleading                     25   A.      No.



                                                               42                                                                   44

   1   abstracts and case reports in promoting                       1   Q.      All right. How did you find out about
   2   Parke-Davis's prescription drugs, including                   2   his death?
   3   Neurontin, for a variety of medically                         3   A.      His wife called our office and spoke
   4   unacceptable uses. Do you see that as well?                   4   with our telephone answering operator and then
   5   A.       Yes.                                                 5   spoke with my nurse.
   6   Q.       Sir, as a doctor, is it important to                 6   Q.      Okay. Did you by any chance file a
   7   you that drug companies put patient safety                    7   MedWatch report with the FDA after this, do you
   8   first?                                                        8   know?
   9   A.       Yes.                                                 9   A.      I don't know. I don't think I've
  10   Q.       Is it important to you that drug                    10   ever -- I don't know to do that or --
  11   companies follow FDA instructions and rules and              11   Q.      Yeah. I didn't think so, but I didn't
  12   guidelines --                                                12   see one, and I just wasn't sure.
  13               MR. FERGUSON: Object to form.                    13               MR. LANIER: I'm going to, I've
  14   Q.       -- about what they're telling you and               14        used 45 of my minutes. I'm going to save
  15   what they're not?                                            15        my other 45. I'm going to pass the witness
  16   A.       Yes.                                                16        and see if he can really do it in 44.
  17   Q.       (By Mr. Lanier) Now if you had been                 17               MR. FERGUSON: Doctor, are you
  18   told either in the labeling information or                   18        doing okay? Do you need a break or
  19   through sales reps or, Dr. Mackey, through your              19        anything?
  20   partners, if you had been told that Neurontin                20               THE WITNESS: I'm okay.
  21   was a drug with some of the problems we've                   21               CROSS-EXAMINATION
  22   talked about so far today, would it have                     22   BY MR. FERGUSON:
  23   changed the way you treated Mr. Smith?                       23   Q.      Dr. Mackey, we met briefly before the
  24               MR. FERGUSON: Object to form.                    24   deposition. My name is Ken Ferguson. I
  25   A.       Possibly. Probably.                                 25   represent Pfizer in this matter. Do you




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   1   dementia, or forgetfulness, and I may have                    1   A.    Yes.
   2   taken her words and put it into the term                      2   Q.    If you prescribed a medication that
   3   dementia. But, you know, she certainly --                     3   none of your patients benefited from, would you
   4   they're a very involved family, very, you know,               4   continue to prescribe it?
   5   interested in the well-being of their, their                  5   A.    No.
   6   father. And she pulled me aside and asked me                  6   Q.    And do you monitor your patients after
   7   that question, so I, as I recall, made an                     7   you prescribe a particular medication for them
   8   appointment, but I don't think he ever went to                8   to see if they get some benefit?
   9   that appointment.                                             9   A.    I do.
  10   Q.    Do you know why he never went to that                  10   Q.    When you prescribe medication
  11   appointment?                                                 11   generally, is it true that some patients may
  12   A.    No.                                                    12   benefit and some patients may not benefit from
  13   Q.    You did write a prescription for                       13   the use of that medication?
  14   Neurontin on that day; is that correct?                      14   A.    That is true.
  15   A.    Um, you know, as I said earlier, I                     15   Q.    And was that true of Neurontin as well?
  16   don't -- I could not find that. I'll have to                 16   A.    Yes.
  17   take, you know, whatever you can produce. But                17   Q.    And with respect to Mr. Smith, before
  18   I, I -- I am -- if, if you say I did, I'm sure               18   you prescribed Neurontin, you're aware that he
  19   I did. I did use it for that type of problem.                19   took some other pain medications without
  20   Q.    You have no recollection of having done                20   relief?
  21   it, but if the records would reflect that,                   21   A.    That is correct.
  22   then --                                                      22   Q.    What discussion, if any, took place, or
  23   A.    I would not argue.                                     23   do you recall any discussion between you and
  24   Q.    Okay. When you say that you used                       24   either Mr. Smith or his family members on that
  25   Neurontin for that kind of problem, what are                 25   day regarding the use of Neurontin?



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   1   you referring to?                                             1   A.    Um, in terms of dosing, side effects?
   2   A.    Nerve pain.                                             2   Q.    Yes, sir.
   3   Q.    So this was not the first patient you                   3   A.    Um, I don't recall.
   4   prescribed Neurontin for?                                     4   Q.    Do you have a normal practice in that
   5   A.    No.                                                     5   regard, if you're prescribing a new medication
   6   Q.    Any estimate about how many patients                    6   for a patient, as to what discussion if any --
   7   you had prescribed Neurontin for before, for                  7   A.    Yeah.
   8   this kind of nerve problem?                                   8   Q.    -- takes place?
   9   A.    I don't -- I couldn't tell you.                         9             What's your normal practice?
  10   Q.    It's something that you did fairly                     10   A.    Well, --
  11   regularly?                                                   11             MR. LANIER: Now or then?
  12   A.    Yes.                                                   12             MR. FERGUSON: Yeah, sure.
  13   Q.    Do you know when you started                           13   Q.    (By Mr. Ferguson) What was your normal
  14   prescribing Neurontin?                                       14   practice back in March of 2004?
  15   A.    Back in my fellowship. I did my                        15   A.    2004? If it's new medicine, I tell
  16   fellowship out at San Francisco, and I know we               16   them why I'm prescribing it, and what the
  17   started using it for neuropathic pain during                 17   potential side effects are, and what to watch
  18   that time.                                                   18   for. And if it doesn't help, stop, stop taking
  19   Q.    And what time period was that?                         19   it. Call us with any problems.
  20   A.    I believe it was '94 to '95. My CV                     20   Q.    And is there any reason to believe that
  21   will have it down to the exact, but I'm pretty               21   you didn't follow that practice when you
  22   sure that's the year.                                        22   prescribed, assuming you prescribed, Neurontin
  23   Q.    Once you got into your practice and                    23   for Mr. Smith back in March 9th of 2004?
  24   were prescribing Neurontin, did you see                      24   A.    No, there is no reason to believe I
  25   benefits from it for your patients?                          25   didn't go through that.




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   1   depression to your understanding?                             1   A.    I do.
   2   A.   Yes.                                                     2   Q.    If you determine that the risks of a
   3   Q.   Is it true that, that many beneficial                    3   medication outweigh the benefits for a
   4   medications carry significant or very serious                 4   particular patient you'd stop prescribing it
   5   risks?                                                        5   for that patient; correct?
   6   A.   Yes.                                                     6   A.    That's correct.
   7   Q.   Even penicillin; correct?                                7   Q.    With regard to Mr. Lanier talked about
   8   A.   Yes.                                                     8   sales people or detail people, you know who
   9   Q.   Virtually all prescription medications                   9   those are?
  10   carry some risk; correct?                                    10   A.    Yes.
  11   A.   Yes.                                                    11   Q.    To your knowledge, you don't recall any
  12   Q.   When you are prescribing a medication,                  12   detail person or sales representative from
  13   you have to determine in your professional                   13   Pfizer during the 2002-2003 time period coming
  14   opinion whether the benefits of that medication              14   to talk to you about Neurontin?
  15   outweigh the risks for that particular patient;              15   A.    I'm pretty sure I've spoken to some
  16   correct?                                                     16   people in my office regarding it. I know I had
  17   A.   Based on the available information I                    17   samples in my office during the time. So I
  18   have to me, I try to do what's best for my                   18   don't know why there's no signature there other
  19   patient in any given circumstance.                           19   than Dr. Anderson shares the same pod with me
  20   Q.   And let's talk about what sources of                    20   and there is the chance that he just wound up
  21   information you have about risks and benefits                21   signing for it instead of me. So --
  22   of medications. First of all, you have the                   22   Q.    Signing for the samples?
  23   product labeling which we -- was discussed                   23   A.    Yes.
  24   earlier; correct? The PDR.                                   24   Q.    Because a physician has to sign for
  25   A.   Yes.                                                    25   samples; correct?



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   1   Q.    How about medical literature, do you                    1   A.    That is correct.
   2   ever read medical literature with regard to                   2   Q.    You don't have any present recollection
   3   risks and benefits of medications?                            3   of any conversations with Pfizer, detailers or
   4   A.   I don't get literature sent to me on                     4   sales reps during the 2002, 2003, 2004 time
   5   that. It's what's provided to me by detail                    5   frame?
   6   people, and that's -- and again, as I mentioned               6   A.    Well, Pfizer or any set -- can I answer
   7   earlier, you know, resources you have within                  7   with any sales rep?
   8   your own group as partners.                                   8   Q.    Sure.
   9   Q.   Sure.                                                    9   A.    I don't know who's aligned with who.
  10   A.   But, no, I don't read literature                        10               I do recall talking with
  11   regarding pain management.                                   11   somebody, I don't know who it was, during that
  12   Q.   Do you read literature, period?                         12   time frame regarding Neurontin.
  13   A.   Yeah.                                                   13   Q.    Okay.
  14   Q.   Do you subscribe to journals?                           14   A.    I mean it's natural that they would
  15   A.   Yeah. Yes.                                              15   come talk to me as a spine surgeon more so
  16   Q.   You have discussions with other                         16   probably than talking to Clendenin or Nichols,
  17   colleagues in your group, correct, --                        17   but I mean less so compared to them but
  18   A.   Yes.                                                    18   certainly more than Allen Anderson, who would
  19   Q.   -- about medications in general?                        19   not treat that at all.
  20   A.   Yes.                                                    20               So I feel, though I couldn't --
  21   Q.   And other colleagues outside your                       21   probably greater than 50 percent certainty, you
  22   group; correct?                                              22   know, not 90 percent.
  23   A.   Absolutely.                                             23   Q.    So you think more likely than not some
  24   Q.   And you rely on your own experience                     24   Pfizer --
  25   significantly, don't you?                                    25   A.    Yes.




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   1   Q.      -- sales representative came and talked               1   Q.   And you noted that you had had success
   2   to you about, about Neurontin?                                2   with Neurontin with other patients prior to
   3   A.   Or whomever. Somebody with Neurontin.                    3   Mr. Smith?
   4   Q.    Okay.                                                   4   A.   Yes.
   5   A.   Again Pfizer, Parke-Davis, Warner-                       5   Q.   And you have had success with Neurontin
   6   Lambert.                                                      6   since prescribing for Mr. Smith.
   7   Q.    Sure. More likely than not you had                      7   A.   Yes.
   8   such a discussion. Do you recall anything                     8   Q.   Was the fact that you had had success
   9   about what discussion was had in that                         9   in treating other patients with Neurontin a
  10   meeting?                                                     10   factor in making the decision to prescribe for
  11   A.   Just again what I would use it for, and                 11   Mr. Smith?
  12   that is neuropathic pain. And I recall a                     12   A.   Among others, yes.
  13   discussion about a study coming out that shows               13   Q.   Other than the discussions that you
  14   on-label use of it at some point, but I                      14   think may have taken place, probably took place
  15   can't -- and that was -- that may have been                  15   with sales representatives, did you receive any
  16   after or during this time, I don't recall.                   16   other information from any source of Pfizer,
  17   Q.    Okay. You're a little vague on that?                   17   Warner-Lambert, Parke-Davis regarding the use
  18   A.   Um, you know, it's asking something                     18   of Neurontin, that you recall?
  19   that's -- you know, I got so many other things               19   A.   Not that I recall.
  20   going through.                                               20   Q.   And I think Mr. Lanier asked you this,
  21   Q.    I understand.                                          21   but I can't recall exactly what your answer
  22   A.   To remember three or four, five years                   22   was. With regard to the PDR information, the
  23   ago. And I -- it could be longer than that.                  23   labeling information regarding Neurontin, had
  24   Q.    Okay.                                                  24   you reviewed that at some point prior to
  25   A.   But I -- I guess what I want to tell                    25   prescribing for Mr. Smith?



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   1   you that I recall for sure, --                                1   A.   A long time ago, probably.
   2   Q.      Um-hum.                                               2   Q.   There was a lot of discussion on the
   3   A.   -- that I had samples in my closet for                   3   prior examination regarding off-label use
   4   distribution to patients.                                     4   versus on-label use. Do you understand that
   5   Q.    Okay. And did you distribute those                      5   distinction?
   6   samples?                                                      6   A.   Quite well.
   7   A.   I did.                                                   7   Q.   And really off-label use can, can
   8   Q.    And those samples are always                            8   include indications that aren't labeled;
   9   accompanied by their product labeling, aren't                 9   correct?
  10   they?                                                        10   A.   Right.
  11   A.   I believe so. I think each box comes                    11   Q.   Off-label use can also include for --
  12   with one.                                                    12   in dosages not labeled; correct?
  13   Q.    We talked about the fact that Lortab or                13   A.   I didn't realize that as well, but yes,
  14   narcotic pain relievers have potential for                   14   that makes sense.
  15   addictive behavior. To your knowledge, does                  15   Q.   Okay. Is it uncommon or common for
  16   Neurontin have potential for addictive                       16   doctors to prescribe medications for unlabeled
  17   behavior?                                                    17   indications?
  18   A.   I'm not aware of it.                                    18   A.   I, I imagine it's relatively common. I
  19   Q.    Do some medications have the potential                 19   don't know to what extent it is.
  20   to damage the liver, because they're                         20   Q.   Okay. Is Neurontin the only medication
  21   metabolized through the liver?                               21   you have ever prescribed off-label?
  22   A.   Yes.                                                    22   A.   I don't know.
  23   Q.    Do you know if Neurontin fits that                     23   Q.   Do you know whether or not the FDA
  24   category or not?                                             24   recognizes and even approves the prescription
  25   A.   I believe it goes through the kidney.                   25   of drugs off-label?




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   1   know, obviously she didn't want to talk about                 1   A.    No.
   2   it in front of her dad, so... and again, as I                 2   Q.    Okay. If you had known that it was a
   3   recall, she pulled me aside to ask me that                    3   drug that the scientists were concerned might
   4   question. So I said, Okay, we can send you to                 4   lead to suicide with some people, would you
   5   somebody who you can talk to about that and see               5   have warned them about it?
   6   if it's a valid, you know, issue or not.                      6             MR. FERGUSON: Object to form.
   7   Q.     Fair enough. Thank you.                                7   A.    I think that's a significant enough
   8             Next subject: You stated you                        8   complication, concern, that at least in -- if
   9   started prescribing Neurontin in your                         9   it got to that point, with this particular
  10   fellowship years, '94-95 in San Francisco.                   10   patient, you would talk to them.
  11   A.     Yes.                                                  11   Q.    (By Mr. Lanier) Sure. Now, next
  12   Q.     When you prescribe a drug like that, do               12   subject: You now prescribed Neurontin you said
  13   you do what's called risk-benefit analysis?                  13   very infrequently, second or third line when
  14   A.     Probably not formally, like you're                    14   you do it; fair?
  15   talking about, but clearly any treatment that I              15   A.    Yes.
  16   undertake, you, you -- what you do before                    16   Q.    And when you do that, sir, do you take
  17   you is weigh --                                              17   time to give folks warnings, that they want to
  18   Q.     You at least do it in your brain.                     18   look out for depression or altered mental
  19   A.     Yes.                                                  19   status?
  20   Q.     You try to figure out, okay, what are                 20   A.    Yes.
  21   the risks of this drug, if I choose to use it                21   Q.    Next issue: You were asked about the
  22   in this patient, and what are the potential                  22   fact that there are risks to narcotics, Lortab
  23   benefits; right?                                             23   and hydrocodone, you mentioned addiction,
  24   A.     Yes.                                                  24   depression and confusion; remember?
  25   Q.     Again, before you ever prescribe a drug               25   A.    Yes.



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   1   like this, then, it's very important the drug                 1   Q.    Do you know about those risks?
   2   companies be honest and forthright and tell you               2   A.    Yes.
   3   what the potential risks are, would you agree?                3   Q.    I mean you came up -- you told us about
   4   A.     Yes.                                                   4   that, so obviously that's stuff you know
   5   Q.     And that's true whether it's in 1994,                  5   about; right?
   6   1995, 2003, 2004, or heaven's, 2007 or                        6   A.    Yes.
   7   2008; true?                                                   7   Q.    And I assume you tell patients about.
   8   A.     Yes.                                                   8   A.    Yes.
   9   Q.     You also were asked what typically you                 9   Q.    And then y'all make an intelligent
  10   would discuss with patients when you were                    10   decision of whether they want to be on that
  11   prescribing a drug. Do you remember those                    11   drug or not; true?
  12   questions?                                                   12   A.    Yes.
  13   A.     Yes.                                                  13   Q.    And then not only are they able to make
  14   Q.     You said typically you would tell them                14   an intelligent decision with you, but they know
  15   why you were prescribing it, what the potential              15   what to look out for, there may a problem?
  16   side effects were, what to watch out                         16   A.    Yes.
  17   for; right?                                                  17   Q.    Next: There was a reference to the
  18   A.     Yes.                                                  18   fact that Pfizer might have some studies that
  19   Q.     But, sir, would it be fair to say when                19   showed depression is greater on placebo than on
  20   it comes to Neurontin, you're only able to them              20   the drug. I would assume you're not here to
  21   what you know?                                               21   testify about any of those studies because you
  22   A.     Sure. Yes.                                            22   hadn't seen them; right?
  23   Q.     You weren't an insider who had secret                 23   A.    No.
  24   inside information from the drug company, were               24   Q.    You do know enough from your training
  25   you?                                                         25   to know that you never want to cherry pick




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